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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA,                           §
                                                      §
                                                      § CASE NUMBER 6:15-CR-00061-RC
  v.                                                  §
                                                      §
                                                      §
  CRYSTAL BEAM (3),                                   §
                                                      §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

 accept the Defendant’s guilty plea. She further recommended that the court adjudge the Defendant

 guilty on Count Five of the Superseding Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report. The court ORDERS the Defendant’s

 attorney to read and discuss the presentence report with the Defendant, and file any objections to

 the report BEFORE the date of the sentencing hearing.




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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Crystal Beam (3), is adjudged

 guilty as to Count Five of the Superseding Indictment charging a violation of 18 U.S.C. § 2251(a)

 and (e) – Conspiracy to Sexually Exploit Children.

      So Ordered and Signed
      Dec 7, 2016




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